                        Case 19-11466-MFW                 Doc 4862         Filed 09/13/23          Page 1 of 12



                                       UNITED STATES BANKRUPTCY COURT
                                              REGION 3 DISTRICT OF DELAWARE



In Re. TPS of PA, L.L.C.                                            §                   Case No. 19-11475
                                                                    §
                                                                    §                   Lead Case No. 19-11466
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 07/31/2023                                                        Petition Date: 06/30/2019

Months Pending: 50                                                                        Industry Classification:    6   2   2   1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Monique B. DiSabatino                                                    Monique B. DiSabatino, Esq. (DE Bar No. 6027)
Signature of Responsible Party                                               Printed Name of Responsible Party
09/11/2023
                                                                             1201 N. Market Street, Suite 2300, Wilmington, DE
Date
                                                                             19801
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
                              Case 19-11466-MFW              Doc 4862            Filed 09/13/23   Page 2 of 12
Debtor's Name TPS of PA, L.L.C.                                                                          Case No. 19-11475


Part 1: Cash Receipts and Disbursements                                                   Current Month           Cumulative

a.   Cash balance beginning of month                                                                        $0
b.   Total receipts (net of transfers between accounts)                                                     $0                 $0
c.   Total disbursements (net of transfers between accounts)                                                $0                 $0
d.   Cash balance end of month (a+b-c)                                                                      $0
e.   Disbursements made by third party for the benefit of the estate                                        $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                                                $0                 $0
Part 2: Asset and Liability Status                                                        Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                             $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                        $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                             $0
d    Total current assets                                                                                   $0
e.   Total assets                                                                                           $0
f.   Postpetition payables (excluding taxes)                                                                $0
g.   Postpetition payables past due (excluding taxes)                                                       $0
h.   Postpetition taxes payable                                                                             $0
i.   Postpetition taxes past due                                                                            $0
j.   Total postpetition debt (f+h)                                                                          $0
k.   Prepetition secured debt                                                                               $0
l.   Prepetition priority debt                                                                              $0
m. Prepetition unsecured debt                                                                               $0
n.   Total liabilities (debt) (j+k+l+m)                                                                     $0
o.   Ending equity/net worth (e-n)                                                                          $0

Part 3: Assets Sold or Transferred                                                       Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                     $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                                $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                               $0                 $0

Part 4: Income Statement (Statement of Operations)                                       Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                       $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                          $0
c.   Gross profit (a-b)                                                                                     $0
d.   Selling expenses                                                                                       $0
e.   General and administrative expenses                                                                    $0
f.   Other expenses                                                                                         $0
g.   Depreciation and/or amortization (not included in 4b)                                                  $0
h.   Interest                                                                                               $0
i.   Taxes (local, state, and federal)                                                                      $0
j.   Reorganization items                                                                                   $0
k.   Profit (loss)                                                                                          $0                 $0


UST Form 11-MOR (12/01/2021)                                           2
                         Case 19-11466-MFW                     Doc 4862           Filed 09/13/23      Page 3 of 12
Debtor's Name TPS of PA, L.L.C.                                                                               Case No. 19-11475

Part 5: Professional Fees and Expenses

                                                                                   Approved       Approved       Paid Current       Paid
                                                                                 Current Month   Cumulative         Month         Cumulative
a.      Debtor's professional fees & expenses (bankruptcy) Aggregate Total

        Itemized Breakdown by Firm
                 Firm Name                         Role
        i
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv
        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
        xxix
        xxx
        xxxi
        xxxii
        xxxiii
        xxxiv
        xxxv
        xxxvi


UST Form 11-MOR (12/01/2021)                                                 3
                      Case 19-11466-MFW   Doc 4862   Filed 09/13/23   Page 4 of 12
Debtor's Name TPS of PA, L.L.C.                                          Case No. 19-11475


        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii
        xlix
        l
        li
        lii
        liii
        liv
        lv
        lvi
        lvii
        lviii
        lix
        lx
        lxi
        lxii
        lxiii
        lxiv
        lxv
        lxvi
        lxvii
        lxviii
        lxix
        lxx
        lxxi
        lxxii
        lxxiii
        lxxiv
        lxxv
        lxxvi
        lxxvii
        lxxvii

UST Form 11-MOR (12/01/2021)                    4
                         Case 19-11466-MFW                     Doc 4862          Filed 09/13/23      Page 5 of 12
Debtor's Name TPS of PA, L.L.C.                                                                              Case No. 19-11475


        lxxix
        lxxx
        lxxxi
        lxxxii
        lxxxii
        lxxxiv
        lxxxv
        lxxxvi
        lxxxvi
        lxxxvi
        lxxxix
        xc
        xci
        xcii
        xciii
        xciv
        xcv
        xcvi
        xcvii
        xcviii
        xcix
        c
        ci

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
b.      Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

        Itemized Breakdown by Firm
                 Firm Name                        Role
        i
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv


UST Form 11-MOR (12/01/2021)                                              5
                      Case 19-11466-MFW   Doc 4862   Filed 09/13/23   Page 6 of 12
Debtor's Name TPS of PA, L.L.C.                                          Case No. 19-11475


        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
        xxiii
        xxiv
        xxv
        xxvi
        xxvii
        xxviii
        xxix
        xxx
        xxxi
        xxxii
        xxxiii
        xxxiv
        xxxv
        xxxvi
        xxxvii
        xxxvii
        xxxix
        xl
        xli
        xlii
        xliii
        xliv
        xlv
        xlvi
        xlvii
        xlviii
        xlix
        l
        li
        lii
        liii
        liv
        lv
        lvi

UST Form 11-MOR (12/01/2021)                    6
                      Case 19-11466-MFW   Doc 4862   Filed 09/13/23   Page 7 of 12
Debtor's Name TPS of PA, L.L.C.                                          Case No. 19-11475


        lvii
        lviii
        lix
        lx
        lxi
        lxii
        lxiii
        lxiv
        lxv
        lxvi
        lxvii
        lxviii
        lxix
        lxx
        lxxi
        lxxii
        lxxiii
        lxxiv
        lxxv
        lxxvi
        lxxvii
        lxxvii
        lxxix
        lxxx
        lxxxi
        lxxxii
        lxxxii
        lxxxiv
        lxxxv
        lxxxvi
        lxxxvi
        lxxxvi
        lxxxix
        xc
        xci
        xcii
        xciii
        xciv
        xcv
        xcvi
        xcvii
        xcviii

UST Form 11-MOR (12/01/2021)                    7
                          Case 19-11466-MFW                      Doc 4862   Filed 09/13/23     Page 8 of 12
Debtor's Name TPS of PA, L.L.C.                                                                    Case No. 19-11475


         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                       $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                          $0                          $0
c.   Postpetition employer payroll taxes accrued                                                         $0                          $0
d.   Postpetition employer payroll taxes paid                                                            $0                          $0
e.   Postpetition property taxes paid                                                                    $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                           $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                      Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




UST Form 11-MOR (12/01/2021)                                           8
                             Case 19-11466-MFW                  Doc 4862        Filed 09/13/23            Page 9 of 12
Debtor's Name TPS of PA, L.L.C.                                                                                Case No. 19-11475

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                $0
b.      Gross income (receipts) from self-employment                                                                 $0
c.      Gross income from all other sources                                                                          $0
d.      Total income in the reporting period (a+b+c)                                                                 $0
e.      Payroll deductions                                                                                           $0
f.      Self-employment related expenses                                                                             $0
g.      Living expenses                                                                                              $0
h.      All other expenses                                                                                           $0
i.      Total expenses in the reporting period (e+f+g+h)                                                             $0
j.      Difference between total income and total expenses (d-i)                                                     $0
k.      List the total amount of all postpetition debts that are past due                                            $0
l. Are you required to pay any Domestic Support Obligations as defined by 11             Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                       Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Allen Wilen                                                                  Allen Wilen
Signature of Responsible Party                                                   Printed Name of Responsible Party

Chief Restructuring Officer                                                      09/11/2023
Title                                                                            Date




UST Form 11-MOR (12/01/2021)                                                9
                     Case 19-11466-MFW   Doc 4862       Filed 09/13/23   Page 10 of 12
Debtor's Name TPS of PA, L.L.C.                                             Case No. 19-11475




                                             PageOnePartOne




                                             PageOnePartTwo




                                             PageTwoPartOne




                                             PageTwoPartTwo




UST Form 11-MOR (12/01/2021)                     10
                     Case 19-11466-MFW   Doc 4862          Filed 09/13/23   Page 11 of 12
Debtor's Name TPS of PA, L.L.C.                                                Case No. 19-11475




                                               Bankruptcy1to50




                                              Bankruptcy51to100




                                             NonBankruptcy1to50




                                            NonBankruptcy51to100




UST Form 11-MOR (12/01/2021)                       11
                     Case 19-11466-MFW   Doc 4862         Filed 09/13/23   Page 12 of 12
Debtor's Name TPS of PA, L.L.C.                                               Case No. 19-11475




                                              PageThree




                                               PageFour




UST Form 11-MOR (12/01/2021)                    12
